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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES,

             Plaintiff,

v.                                                        Criminal Case No. 05-80231-1
                                                          Honorable Patrick J. Duggan
MICHAEL D. ELLIOTT,

           Defendant.
____________________________/

 OPINION AND ORDER DENYING DEFENDANT’S MOTION TO MODIFY AN
   IMPOSED TERM OF IMPRISONMENT PURSUANT TO 18 U.S.C. § 3582

                          At a session of said Court, held in the U.S.
                             District Courthouse, Eastern District
                               of Michigan, on March 19, 2009.

              PRESENT:         THE HONORABLE PATRICK J. DUGGAN
                               U.S. DISTRICT COURT JUDGE

      On June 5, 2006, Defendant pleaded guilty to one count of conspiracy to possess

with intent to distribute and to distribute a controlled substance. On December 12, 2006,

this Court sentenced Defendant to 60 months of imprisonment. Presently before the

Court is Defendant’s motion to modify the term of his imprisonment pursuant to 18

U.S.C. § 3582(c)(2), filed pro se on April 21, 2008. The Government filed a response to

the motion on February 5, 2009. For the reasons that follow, Defendant’s motion is

denied.

      In his pending motion, Defendant seeks a reduction of his sentence based on the

recent amendment to the United States Sentencing Guidelines relating to crack cocaine.
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However, as the Government indicates in its response, Defendant was sentenced for

conspiracy to possess with intent to distribute and to distribute cocaine, not crack cocaine.

Therefore, the Court concludes that Defendant is not entitled to a reduction in his

sentence based on the amendment to the Sentencing Guidelines.

       Accordingly,

       IT IS ORDERED, that Defendant’s Motion for Reduction of Sentence Pursuant to

18 U.S.C. § 3582(c)(2) is DENIED.



                                           s/PATRICK J. DUGGAN
                                           UNITED STATES DISTRICT JUDGE
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